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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HARLESVILLE WORCESTER
 INSURANCE COMPANY,
                    Plaintiff,                                      21-CV-150 (JPO)

                     -v-                                                 ORDER

 SOMPO JAPAN INSURANCE
 COMPANY OF AMERICA, ET AL.,
                     Defendants.


J. PAUL OETKEN, District Judge:

       This case was removed from New York Supreme Court, New York County, on January

8, 2021. Counsel for the plaintiff is directed to file an appearance with this Court no later than

January 25, 2021.

       Counsel for the defendant shall serve a copy of this order on counsel for the plaintiff by

January 19, 2021.

       SO ORDERED.

Dated: January 11, 2021
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
